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17
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18
                               NORTHERN DISTRICT OF CALIFORNIA
19
                                    SAN FRANCISCO DIVISION
20
      IN RE GOOGLE PLAY STORE                      Case No. 3:21-md-02981-JD
21    ANTITRUST LITIGATION
                                                   DEFENDANTS’ MOTION FOR LEAVE
22    THIS DOCUMENT RELATES TO:                    TO FILE SUPPLEMENTAL BRIEF IN
23                                                 SUPPORT OF GOOGLE’S PROFFER
      Epic Games Inc. v. Google LLC et al., Case   REGARDING EPIC’S PROPOSED
24    No. 3:20-cv-05671-JD                         REMEDIES

25                                                 Judge:     Hon. James Donato
                                                   Date:      August 14, 2024
26
                                                   Time:      10:00 a.m. Pacific Time
27                                                 Courtroom: 11, 19th Floor, 450 Golden Gate
                                                   Ave, San Francisco, California, 94102
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                       DEFENDANTS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL BRIEF
                  IN SUPPORT OF GOOGLE’S PROFFER REGARDING EPIC’S PROPOSED REMEDIES
                                  Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
      Case 3:21-md-02981-JD            Document 996         Filed 08/07/24    Page 2 of 4




 1            Google requests permission under Civil Local Rule 7-11 to file a short supplemental brief

 2 in support of its Proffer Regarding Epic’s Proposed Remedies, to respond to testimony offered by

 3 Epic’s remedies experts, Professors James Mickens and Michael Ernst, in their August 1 and

 4 August 2 depositions.

 5            The deposition testimony of Epic’s experts contradicts important aspects of Epic’s

 6 response to Google’s proffer. First, the testimony of Professors Ernst and Mickens makes clear

 7 that the proposed remedies of catalog access and distribution of third party app stores would place

 8 the Court into the role of central planner and redesigner of the Play store’s business. Second,

 9 Professor Ernst’s testimony conflicts with Epic’s contention that the proposed remedies discussed
10 in Google’s proffer could be “implemented” in a few months. Third, Professor Ernst’s testimony

11 exposed that Epic’s cost estimates for implementing Catalog Access, Library Porting, and

12 Distribution of Third-Party App Stores ignored numerous costs that Professor Ernst dismissed as

13 “nontechnical.” Finally, Professor Mickens disagreed with Epic’s position that Google should not

14 be permitted to review apps in the catalogs of third party app stores distributed through the Play

15 store.

16            Google scheduled the depositions of Epic’s experts promptly after Epic filed its reply to
17 Google’s proffer, and within the time provided by the Court’s May 24, 2024 order. (MDL ECF

18 No. 978.) Google will have no other opportunity to address the deposition testimony of these

19 experts in a filing. Before filing this motion, Google requested that Epic consent to the filing of a

20 supplemental brief addressing the deposition testimony of its experts, but Epic declined to consent.

21 Google’s proposed supplemental brief is attached as Exhibit A.

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 2    DATED: August 7, 2024                  Respectfully submitted,
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                                             By:             /s/ Jonathan I. Kravis
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 1                                      E-FILING ATTESTATION

 2            I, Jonathan I. Kravis, am the ECF User whose ID and password are being used to file this

 3 document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that counsel for

 4 Defendants have concurred in this filing.

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 6                                                            /s/ Jonathan I. Kravis                 .
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